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                                                                       FILED
                 IN THE UNITED STATES DISTRICT COURT                     MAY 3 0 2019
                     FOR THE DISTRICT OF MONTANA
                                                                     Clerk, U.S District Court
                          MISSOULA DIVISION                            District Of Montana
                                                                             Missoula




  TANYA GERSH,
                                                   CV 17-50--M-DLC- JCL
                      Plaintiff,

        vs.                                       ORDER

 ANDREW ANGLIN, publisher of the
 Daily Stormer,

                     Defendant.



      Before the Court is Plaintiff Tanya Gersh's Notice of Filing a Status Update.

(Doc. 197.)

      IT IS ORDERED that the trial set for November 4, 2019 and all associated

deadlines are VACATED. This matter remains referred to Magistrate Judge

Jeremiah C. Lynch.

      DATED this ~b~ ay of May, 2019.




                                              Dana L. Christensen, Chief Judge
                                              United States District Court


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